980 F.2d 727
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Leonard O. DOUGLAS, Plaintiff-Appellant,v.Stuart B. SILVER;  Governor Hughes, Maryland;  StateSecretary of Health &amp; Mental Hygiene;  DoctorSiebert, Defendants-Appellees.
    No. 91-7746.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 26, 1992Decided:  November 30, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Joseph C. Howard, District Judge.  (CA-90-906-JH)
      Leonard O. Douglas, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Baltimore, Maryland; Janet Klein Brown, Clifton T. Perkins Hospital Center, Jessup, Maryland, for Appellees.
      D.Md.
      Affirmed.
      Before WIDENER and MURNAGHAN, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Leonard O. Douglas appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Douglas v. Silver, No. CA-90-906-JH (D. M. Dec. 3, 1991).*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         Douglas's motion for appointment of counsel is hereby denied
      
    
    